          Case 2:18-cv-03902-ER Document 16-2 Filed 11/14/18 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HARRY VERNON,                              :
                                           :
                       Plaintiff,          :
                                           :
         vs.                               :      No. 2:18-CV-03902-ER
                                           :
INTERNATIONAL PAPER COMPANY                :
and OWENS-ILLINOIS, INC.,                  :
                                           :
                       Defendants.         :

                     DEFENDANT OWENS-ILLINOIS, INC.’S
     REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
        PLAINTIFF’S AMENDED COMPLAINT UNDER FED. R. CIV. P. 12(B)(6)
                       FOR FAILURE TO STATE A CLAIM

         As Plaintiff admits in his Amended Complaint, New Jersey is the only state with

any connection to his claim against Owens-Illinois. He resides in New Jersey, was

diagnosed in New Jersey, and alleges exposure to asbestos in New Jersey where Owens-

Illinois owned a manufacturing plant until April 1958. Under the due process clause, the

full faith and credit clause, and applicable choice of law rules, there is no question that

New Jersey law governs his claim against Owens-Illinois. As Plaintiff also concedes in

his response, the Amended Complaint does not state a claim against Owens-Illinois

under New Jersey law. Pl.’s Resp. 32. Therefore, this Court should require Plaintiff to

plead his claim against Owens-Illinois, if any exists, under New Jersey law.

I.       THE U.S. CONSTITUTION REQUIRES NEW JERSEY LAW.

      Plaintiff has incorrectly assumed that Pennsylvania law governs his claim against

Owens-Illinois. For Pennsylvania law to apply to the claim against Owens-Illinois, the
           Case 2:18-cv-03902-ER Document 16-2 Filed 11/14/18 Page 2 of 5



Supreme Court has made clear that Pennsylvania “must have a significant contact or

significant aggregation of contacts, creating state interests, such that choice of its law is

neither arbitrary nor fundamentally unfair.” Phillips Petroleum Co. v. Shutts, 472 U.S. 797,

821 (1985); see also Bristol-Myers Squibb Co. v. Sup. Ct. Calif., 137 S. Ct. 1773, 1780 (2017).

      Plaintiff’s claim against Owens-Illinois is based entirely on events that occurred in

New Jersey, not Pennsylvania. Plaintiff, a resident of New Jersey, claims exposure to

asbestos in New Jersey because he lived a few miles from a New Jersey manufacturing

facility operated by Owens-Illinois and walked by a New Jersey dump site where Owens-

Illinois allegedly deposited material from its facility. While it is true that Plaintiff also

alleges International Paper exposed him to asbestos during a later 33-year period when

he worked at an International Paper facility in Pennsylvania, those allegations have

nothing to do with Owens-Illinois. The U.S. Constitution thus prohibits applying

Pennsylvania substantive law to Plaintiff’s claim against Owens-Illinois. See Phillips

Petroleum, 472 U.S. at 821; Bristol-Myers Squibb Co., 137 S. Ct. at 1780.

II.      THE CHOICE OF LAW RULES REQUIRE NEW JERSEY LAW.

      The choice of law rules also confirm why New Jersey law governs Plaintiff’s claim

against Owens-Illinois. The allegations against International Paper in Pennsylvania

cannot justify the application of Pennsylvania law to his claim against Owens-Illinois

because New Jersey—the only state with an interest that is implicated by the claim

against Owens-Illinois—employs decapage, the choice of law rule where different states’

laws may apply to different issues in a single case. The Superior Court of Pennsylvania

applied this rule in Normann v. Johns-Manville Corp., 593 A.2d 890, 894 n.4 (1991), holding


                                                2
         Case 2:18-cv-03902-ER Document 16-2 Filed 11/14/18 Page 3 of 5



that, “in a multi-defendant case, plaintiff’s claims against each defendant is [sic] severable

for choice-of-law purposes.” Accord Taylor v. Mooney Aircraft Corp., 265 F. App’x 87, 91

(3d Cir. 2008) (quoting Berg Chilling Sys., Inc. v. Hull Corp., 435 F.3d 455, 462 (3d Cir. 2006)).

   Plaintiff’s response also argues incorrectly there are no actual conflicts with New

Jersey law. This Court and others have repeatedly recognized in the product liability

context that true conflicts exist between the laws of Pennsylvania and New Jersey. E.g.,

Schwartz v. Accuratus Corp., 294 F. Supp. 3d 386, 390 (E.D. Pa. 2018) (finding an actual

conflict between Pennsylvania and New Jersey law, and applying New Jersey law); Borelli

v. Everland, No. CIV.A. 00-5721, 2006 WL 435730, at *3 (E.D. Pa. Feb. 21, 2006) (same;

“courts in the Eastern District of Pennsylvania have found that there is a true conflict

between the products liability laws of Pennsylvania and New Jersey”); Kallman v.

Aronchick, 981 F. Supp. 2d 372, 379 (E.D. Pa. 2013) (same); Durkin v. Paccar, Inc., No. CIV.A.

10-2013, 2010 WL 4117110, at *4 (D.N.J. Oct. 19, 2010) (same); Knipe v. SmithKline Beecham,

583 F. Supp. 2d 602, 614 (E.D. Pa. 2008) (same); Coppola v. Ferrellgas, Inc., 250 F.R.D. 195,

202 (E.D. Pa. 2008) (same); Torres v. Lucca's Bakery, 487 F. Supp. 2d 507, 513 (D.N.J. 2007)

(same); Henderson v. Merck & Co., No. 04-CV-05987-LDD, 2005 WL 2600220, at *7 (E.D. Pa.

Oct. 11, 2005) (same); Heindel v. Pfizer, Inc., 381 F. Supp. 2d 364, 373 (D.N.J. 2004) (same);

Williams v. Terex-Telelect, Inc., No. CIV. A. 01-CV-3770, 2003 WL 22431920, at *2 (E.D. Pa.

May 19, 2003) (same); Kenney v. Deere & Co., No. CIV. A. 98-602, 2000 WL 254316, at *2

(E.D. Pa. Mar. 7, 2000) (same).

   Moreover, Plaintiff’s argument (that Pennsylvania has a greater interest than New

Jersey over a claim against Owens-Illinois based solely on New Jersey exposure)


                                                3
           Case 2:18-cv-03902-ER Document 16-2 Filed 11/14/18 Page 4 of 5



contradicts controlling Pennsylvania authority. In Normann, an asbestos case against

Owens-Illinois, the Superior Court of Pennsylvania reversed the trial court’s application

of Pennsylvania law. As here, the plaintiff was not exposed to asbestos in Pennsylvania

from products made by Owens-Illinois, so applying Pennsylvania law “would not further

any of Pennsylvania’s policies.” Normann, 593 A.2d at 894; Restatement (Second) of Conflict

of Laws § 146 cmt. e (1971) (“The local law of the state where the personal injury occurred

is most likely to be applied when the injured person has a settled relationship to that state,

either because he is domiciled or resides there.”).

III.      THE PLAINTIFF’S REMAINING ARGUMENTS ARE MOOT.

       Owens-Illinois will not repeat the reasons set forth in its motion why another

amendment of Plaintiff’s Amended Complaint to plead claims under New Jersey law

would be futile.1 At a minimum, however, this Court should require Plaintiff to plead his

claim against Owens-Illinois, if any exists, under New Jersey law. See Hu v. Herr Foods,

Inc., 251 F. Supp. 3d 813, 817 (E.D. Pa. 2017) (granting motion for leave to amend the

complaint and without prejudice to defendant’s ability to file a motion under Federal

Rule of Civil Procedure 11).




1For example, Plaintiff’s allegation that Owens-Illinois operated a manufacturing facility
after April 1958 and owned and operated a dumpsite along New Freedom Road have no
evidentiary support and, as public records show, are outright false. Def.’s Mot. 5-6 & Ex.
A, ECF 7.


                                              4
        Case 2:18-cv-03902-ER Document 16-2 Filed 11/14/18 Page 5 of 5



                                    CONCLUSION

   For these reasons, Owens-Illinois requests that this Court grant its motion to dismiss

and enter an order dismissing Plaintiff’s Amended Complaint against Owens-Illinois.

Owens-Illinois also requests any further relief that this Court deems just and proper.

                                         Respectfully submitted,

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